
Smith, J.
To this plea the plaintiff replied generally, that he had been naturalized, &amp;c. and the defendant, without a rejoinder to,this replication, by which he might have brought the question before the court, whether defendant had been naturalized at the time he was to convey the lands, or not, chose to demur to the plaintiff’s replication, and thereby admitted all the facts ; which being thus admitted, there was nothing left to prove. The plaintiff had done all that he was bound to do, and ought to have had judgment on the demurrer. I am, therefore, of opinion that the judgment on demurrer ought to *517be reversed, and that judgment be for the plaintiff.
Justices GRiMKB, Colcocic, and Bay concurred.
Brevard, Contra.
